                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:08CR134-RJC-DSC-17


UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )            ORDER
                                                     )
MICHAEL STEVEN MENA, a/k/a “Cholo”,                  )
                                                     )
                  Defendant.                         )
__________________________________________


       THIS MATTER is before the Court on receipt of a Report dated June 15, 2009 from the

Federal Bureau of Prisons Metropolitan Correctional Center in New York, New York regarding

Defendant’s competency to stand trial. The Court conducted a hearing on August 5, 2009 following

receipt of the Report.

       During the hearing regarding the Report, counsel for Defendant (Steven Meier) expressed

concerns about the Report and specifically his ability to communicate with Defendant and

Defendant’s understanding of such communications. Counsel for the Government (Kevin Zolot)

suggested that the Court defer ruling on Defendant’s competency and allow Defendant to seek his

own expert to conduct a separate competency evaluation. Counsel for Defendant indicated he had

already consulted with a psychologist and would file a motion with the Court requesting a separate

competency evaluation.

       NOW THEREFORE, IT IS ORDERED:

       1.   The Court will defer ruling on Defendant’s competency to stand            trial pending

Defendant’s Motion for a separate competency evaluation by his own expert.

       2.      The Clerk is directed to send copies of this Order to counsel for the parties; and to



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the Honorable Robert J. Conrad, Jr.


       SO ORDERED.



                                          Signed: August 5, 2009




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